Case 1:14-cv-00516-SEB-DML Document 19 Filed 05/01/14 Page 1 of 1 PageID #: 100




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


     HYLANT GROUP, INC.,                               )
     HYLANT OF INDIANAPOLIS, LLC,                      )
                         Plaintiffs,                   )
                                                       )
                         vs.                           )
                                                       )      No. 1:14-cv-00516-SEB-DML
     NICHOLAS IAONNACCI,                               )
     HUNTINGTON INSURANCE, INC.                        )
                         Defendants.                   )


                                            ORDER

           This cause is before the Court on Plaintiffs’ Motion to Dismiss Count III of the

    Complaint (Dkt. 15). The Court GRANTS the request. It is hereby ORDERED Count III

    of the Complaint is DISMISSED and this action is remanded to the Hamilton County

    Superior Court for adjudication of Hylant’s state-law claims. It is further ORDERED,

    Plaintiffs’ Motion for Preliminary Injunction (Dkt. 9) is DENIED AS MOOT.


           IT IS SO ORDERED.

                  5/1/2014
           Date: _____________
                                                    _______________________________
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana
    Distribution:

    Steven M. Badger
    sbadger@badgercounsel.com

    Derek R. Molter
    derek.molter@icemiller.com

    George A. Gasper
    george.gasper@icemiller.com
